      Case 3:17-cv-00939-WHA Document 453-2 Filed 05/17/17 Page 1 of 2




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                                UNITED STATES DISTRICT COURT
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                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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      WAYMO LLC,                                   CASE NO. 3:17-cv-00939-WHA

                   Plaintiff,                      [PROPOSED] ORDER GRANTING
                                                PLAINTIFF WAYMO LLC’S
          vs.                                      ADMINISTRATIVE MOTION TO FILE
                                                UNDER SEAL THE DECLARATION OF
    UBER TECHNOLOGIES, INC.;                       PIERRE-YVES DROZ IN RESPONSE TO
 OTTOMOTTO LLC; OTTO TRUCKING                   THE COURT’S QUESTION REGARDING
    LLC,                                           WAYMO’S ASSERTED TRADE SECRET
                                                #1 AND EXHIBITS THERETO
              Defendants.
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                                   [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 453-2 Filed 05/17/17 Page 2 of 2




 1          Plaintiff Waymo LLC (“Waymo”) has filed an Administrative Motion to File Under Seal

 2 the Declaration of Pierre-Yves Droz in Response to the Court’s Question Regarding Waymo’s

 3 Asserted Trade Secret #1 and Exhibits Thereto (the “Administrative Motion”).

 4          Having considered the Administrative Motion, and good cause to seal having been shown,

 5 the Court GRANTS Waymo’s Administrative Motion and ORDERS sealed the documents listed

 6 below:

 7                      Document                  Portions to Be Filed Under Seal
 8           Declaration of Pierre-Yves Droz in   Entire Document
             Response to the Court’s Question
 9           Regarding Waymo’s Asserted
             Trade Secret #1 (“Droz
10
             Declaration”)
11           Exhibits J-L to Droz Declaration     Entire Documents

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            IT IS SO ORDERED.
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     Dated: ______________, 2017
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                                           HON. WILLIAM ALSUP
16                                         United States District Court Judge
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                                     [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
